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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

  HILARY REMIJAS, MELISSA FRANK,                       Case No. 1:14-cv-01735
  DEBBIE FARNOUSH, and JOANNE KAO,
  individually and on behalf of all others
  similarly situated,
                                                       Honorable Sharon Johnson Coleman
                         Plaintiffs,

          v.



  THE NEIMAN MARCUS GROUP, LLC, a
  Delaware limited liability company,



                         Defendant.




                      REASSIGNED CASE JOINT STATUS REPORT

       The parties and both objectors to the class action settlement (the “Settlement”) before the

Court in this action submit this Reassigned Case Joint Status Report, in accordance with the

Court’s Order dated March 28, 2018. Dkt. 188. In summary, this is a class action in which the

parties reached a settlement agreement following mediation. The District Court, on Plaintiffs’

motion, certified the class and preliminarily approved the Settlement. After Plaintiffs filed a

motion for final approval of the Settlement and a motion for attorneys’ fees, costs, and class

representative service awards, two objections were filed. The parties and objectors completed

briefing and participated in oral argument before Judge Samuel Der-Yeghiayan on the motions

for final approval of the Settlement and for approval of attorneys’ fees, costs, and service awards,




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which have been pending decision since November 21, 2017. In light of Judge Der-Yeghiayan’s

decision to retire as of February 17, 2018, this case was reassigned to this Court.

       1. Nature of the Case and Procedural History

       Plaintiffs and the class are represented by Tina Wolfson (lead trial attorney) and

Theodore Maya of Ahdoot & Wolfson, P.C.; John Yanchunis of Morgan & Morgan; and liaison

counsel Joseph J. Siprut of Siprut PC. Defendant is represented by David H. Hoffman (lead trial

attorney), Geetanjli Malhotra, and Daniel Craig of Sidley Austin.

       In January 2014, Defendant Neiman Marcus announced that it had experienced a data

security incident in which a hacker surreptitiously installed malware on point-of-sale registers in

some of Defendant’s stores (the “Incident”). As set forth in the settlement agreement (Dkt. 145-

1) (the “Settlement Agreement”), the Incident potentially compromised the credit or debit card

information of customers who used a credit card or debit card at certain of Defendant’s stores at

certain times between July 16 and October 30, 2013. Dkt. 145-1, ¶¶ 1, 4.

       Plaintiff Remijas filed this action on March 12, 2014. Other plaintiffs filed similar

actions in a number of jurisdictions, and Plaintiffs’ counsel self-organized to consolidate their

actions in this Court. See, e.g., Dkt. 160, Declaration of Tina Wolfson (“Wolfson Decl.”), ¶¶ 1-

6. Plaintiffs filed their First Amended Complaint on June 6, 2014. Dkt. 27.

       Defendant moved to dismiss Plaintiffs’ First Amended Complaint for lack of standing

under Rule 12(b)(1) and for failure to state a claim under Rule 12(b)(6). Dkt. 35. Plaintiffs

opposed but, on September 16, 2014, the Court (Judge James B. Zagel) granted Defendant’s

motion to dismiss under Rule 12(b)(1) and dismissed the action on standing grounds. Dkt. 49.

       Plaintiffs appealed, and the Seventh Circuit reversed and remanded, holding that

Plaintiffs had adequately alleged standing under Article III of the U.S. Constitution. Dkt. 66 at




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17; Remijas v. Neiman Marcus Group, LLC, 794 F.3d 688 (7th Cir. 2015). Defendant then

renewed its Motion to Dismiss under Rule 12(b)(6) for failure to state a claim (Dkt. 75), which

the Court denied on January 13, 2016. Dkt. 84.

       In December 2015 and March 2016, the parties mediated before retired Judge Wayne R.

Andersen. After mediation and other settlement discussions, the parties agreed to the class

action Settlement Agreement and Plaintiffs moved for preliminary approval of the Settlement on

March 17, 2017. Dkt. 144-45. The Settlement Agreement is at Docket No. 145-1.

       In the meantime, on October 26, 2016, this action was transferred from Judge Zagel to

Judge Der-Yeghiayan. Dkt. 121. On June 21, 2017, the Court issued an Order Preliminarily

Certifying a Settlement Class, Preliminarily Approving the Class Action Settlement, and

Directing Notice to the Settlement Class. Dkt. 154.

       On August 21, 2017, Plaintiffs filed a motion for final approval of the Settlement and a

motion for attorneys’ fees, costs, and class representative service awards. Dkts. 158, 159.

       Two objections were filed to the Settlement. On September 1, 2017, Parvinder Chohan,

who is represented by Jay Edelson and Ryan D. Andrews of Edelson PC, filed an objection. Dkt.

164. On September 4, 2017, Gretchen Carey and Donald Plunkett, who are represented by Amy

M. Wilkins of the Wilkins Firm, PLLC, filed an objection. Dkt. 165. On October 19, 2017,

Plaintiffs and Defendant filed separate briefs in response to the objections and in support of the

motion for final approval of the Settlement. Dkts. 167, 169.

       The Court held a hearing regarding final approval of the Settlement on October 26, 2017,

and heard oral argument from the objectors and the parties regarding the objections. A transcript

of that hearing is at Dkt. 183. At the hearing, the Court granted Objector Chohan’s motion

seeking leave to file additional briefing in reply to Plaintiffs’ and Defendant’s response briefs,




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Dkt. 173, and gave Plaintiffs and Defendant an opportunity to file sur-replies. On November 9,

Objectors Carey, Chohan, and Plunkett filed a joint reply brief in support of their objections,

Dkt. 178, and on November 21, Plaintiffs and Defendant filed sur-reply briefs. Dkts. 181, 182.

       The motion for final approval and the objections have thus been pending, following full

briefing and a hearing, since November 21, 2017. On January 16, 2018, in light of Judge Der-

Yeghiayan’s decision to retire from the Court as of February 17, 2018, this action was reassigned

to Judge Sharon Johnson Coleman. Dkt. 188.

       2.      Pending Motions

        As described above, Plaintiff’s motion for final approval of the Settlement (Dkt. 158)

and for an award of attorneys’ fees, costs, and class representative service awards (Dkt. 159) are

pending, as are the objections (Dkts 164, 165). Briefing on the motions is complete and no

deadlines are pending.

       For the Court’s reference, the filings pertaining to the pending motions are listed below:

•      Dkt. 145-1 through Dkt. 145-9 – Settlement Agreement and Exhibits Thereto
•      Dkt. 154 – Order Certifying a Settlement Class, Preliminarily Approving Class Action
       Settlement and Directing Notice to the Settlement Class
•      Dkt. 158 – Plaintiffs’ Motion for Final Approval of Class Action Settlement (supporting
       affidavits at Dkts. 160 through 162)
•      Dkt. 159 – Plaintiffs’ Motion for Attorneys’ Fees, Costs, and Class Representative
       Service Awards (supporting affidavits at Dkts. 160 and 161)
•      Dkt. 164 – Objector Parvinder Chohan’s Objection to Class Action Settlement
•      Dkt. 165 – Objector Gretchen Carey and Objector Donald Plunkett, Jr.’s Objection to
       Class Settlement
•      Dkt. 167 – Plaintiffs’ Reply in Support of Final Approval of Class Action Settlement,
       Attorneys’ Fees, Costs, and Class Representative Service Awards (supporting affidavits
       at Dkts. 167-1 and 167-2)
•      Dkt. 169 – Defendant’s Response to Objections to Class Action Settlement (supporting
       affidavits at Dkts. 169-1 and 169-2)
•      Dkt. 178 – Objectors’ Reply in Support of Objections to Class Action Settlement
•      Dkt. 181 – Defendant’s Sur-Reply to Objections to Class Action Settlement
•      Dkt. 182 – Plaintiffs’ Sur-Reply in Response to Objections to Class Action Settlement
•      Dkt. 183 – Transcript of Fairness Hearing Held on October 26, 2017



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•      Dkt. 184 – Transcript of Motion Hearing Held on October 31, 2017

       3.      Discovery

       This case has not been referred to the Magistrate Judge for discovery supervision. As

described above, Plaintiffs and Defendant have reached a Settlement, and Plaintiffs’ motion for

final approval of that Settlement is pending before the Court. No discovery is pending.

       4.      Trial

       As described above, Plaintiffs and Defendant have reached a Settlement, and Plaintiffs’

motion for final approval of that Settlement is pending before the Court. Before reaching the

Settlement, Plaintiffs requested a jury trial. Plaintiffs and Defendant anticipate that a jury trial

would take several weeks.

       5.      Settlement

       As described above, Plaintiffs and Defendant have reached a Settlement, and Plaintiffs’

motion for final approval of that Settlement is pending before the Court. Therefore, the parties

do not request a settlement conference.



Dated: April 9, 2018                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on April 9, 2018, I caused the foregoing to be

electronically filed with the Clerk of the Court in the United States District Court for the Northern

District of Illinois by using the CM/ECF system, which served copies on all interested parties

registered for electronic service.

                                                      /s/ Theodore Maya




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